                Case 5:19-cr-00046-BLF Document 86 Filed 01/08/21 Page 1 of 1

                                                                                                   Jan 08 2021


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 5 Attorney for Defendant Yvonne Lattimore

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 7
                                      UNITED STATES DISTRICT COURT
 8
                                   NORTHERN DISTRICT OF CALIFORNIA
 9
                                               SAN JOSE DIVISION
10

11   UNITED STATES OF AMERICA,                         ) No. CR 19-00046 BLF
                                                       )
12           Plaintiff,                                ) ORDER FOR RELEASE OF FILES
                                                       )
13      v.                                             )
                                                       )
14   YVONNE LATTIMORE,                                 )
                                                       )
15           Defendant.                                )
                                                       )
16
             FOR GOOD CAUSE SHOWING, the Federal Public Defender for the Northern District of
17
     California is ordered to release their complete file resulting out of their representation of Yvonne
18
     Lattimore in the above-referenced case to Lattimore and her counsel of record Bruce Funk.
19
             The complete file includes, but is not limited to, all investigative work and all documents
20
     obtained, whether through investigation or from the client.
21
             If the Federal Public Defender of the Northern District of California believes it cannot comply
22
     with this Order, an appearance on this matter may be made on Friday, January 15, 2021 at 1:00 pm
23
     before the Honorable Nathanael Cousins.
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25 IT IS SO ORDERED.                                                               TA
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     Dated: January 8, 2021                                                       GRAN
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                                                                   NATHANAEL COUSINS
                                                                   United States Magistratel MJudge
                                                                                               . Cousins
                                                                         NO




28                                                                                            thanae
                                                                                   Judge Na
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     ORDER                                                                        ER
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     CR 19-00046 BLF                                                                                     F
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